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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA

vs.                                       NO.        4:01CR00212-012         SWW

DONNELL JACKSON

                                          ORDER

       The   above   entitled   cause   came    on    for   hearing   July    7,   2011   on   the

government’s motions to revoke the supervised release previously granted this

defendant in the United States District Court for the Eastern District of

Arkansas.    The Court finds that the government’s motions should be dismissed

without prejudice. However, the Court has determined that defendant’s conditions

of supervised release should be modified.

       IT IS THEREFORE ORDERED that defendant’s term of supervised release shall

be modified to include the following special conditions:

      1. Defendant shall serve a period of SIX (6) MONTHS in a residential re-
entry center under the guidance and direction of the U. S. Probation Office.

       2. Defendant shall maintain or be actively seeking employment.

      3. Defendant shall participate in AA or NA under the guidance and
supervision of the U. S. Probation Office.

       All other conditions of defendant’s supervised release previously imposed

shall continue and remain in full force and effect until the expiration of his

term of supervised release.

       IT IS FURTHER ORDERED that the government’s petitions to revoke defendant’s

supervised release [docs #1089, 1099, 1103, 1105, 1106] are dismissed without

prejudice.

       IT IS SO ORDERED this 7th day of July 2011.




                                                     /s/Susan Webber Wright
                                                     United States District Judge
